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     United States of America
6
                                     IN THE UNITED STATES DISTRICT COURT
7
                                        EASTERN DISTRICT OF CALIFORNIA
8
     UNITED STATES OF AMERICA,                            CASE NO. 1:16-CR-00200 LJO
9
                                    Plaintiff,            STIPULATION TO CONTINUE CHANGE OF PLEA
10                                                        HEARING
                            v.
11
     EFRAIN VALENCIA, AND
12   JORGE NOE TORRES HERNANDEZ

13                                  Defendants.

14

15          IT IS HEREBY STIPULATED by and between Phillip A. Talbert, United States Attorney and

16   Kimberly A. Sanchez, Assistant U.S. Attorney and Michael Grahn and Ernest Lutz, attorneys for the

17   defendants, that the change of plea hearing set for December 11, 2017 at 8:30 am before the Honorable

18   Lawrence J. O’Neill be continued to February 5, 2018 at 8:30 a.m. Mr. Grahn, who is Counsel for Mr.

19   Torres-Hernandez, has knee surgery scheduled for December 27, 2017, and a pre-op appointment on

20   Monday, December 11, 2017 that he prefers not to postpone. On December 7, 2017, Mr. Lutz provided the

21   government with information that requires assessment and potentially further investigation. All parties have

22   made advancements in plea negotiations, including further investigation conducted, and expect the matter

23   will be resolved imminently.

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      Stipulation                                         1
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            Case 1:16-cr-00200-JLT-SKO Document 24 Filed 12/08/17 Page 2 of 2


1           The parties further request the Court to enter an Order finding that the "ends of justice" served by a

2    continuance outweigh the interest of the public and the defendant in a speedy trial, and that the delay through

3    February 5, 2018 is excluded from the Act's time limits pursuant to 18 U.S.C. § 3161(h)(7)(A).

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5           Dated: December 8, 2017                                 Respectfully submitted,

6                                                                   PHILLIP A. TALBERT
                                                                    United States Attorney
7

8
                                                            By      /s/ Kimberly A. Sanchez
9                                                                   KIMBERLY A. SANCHEZ
                                                                    Assistant U.S. Attorney
10
            Dated: December 8, 2017                                 /s/ Michael Grahn
11                                                                  MICHAEL GRAHN
                                                                    Attorney for Defendant Hernandez
12
            Dated: December 8, 2017                                 /s/ Ernest Lutz
13                                                                  ERNEST LUTZ
14                                                                  Attorney for Defendant Valencia

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16   IT IS SO ORDERED.

17
        Dated:      December 8, 2017                            /s/ Lawrence J. O’Neill _____
18                                                  UNITED STATES CHIEF DISTRICT JUDGE

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      Stipulation                                           2
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